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         Fabulous Florence Steinberg i Smilin' Stan, Mirthful Marie, Jazzy John, Sty/in' Steve, Rascally Roy, Declarative Denny, Happy Herb,
            Marie Severin• Stan Lee : Loveable Linda, Terrific Trina, Leapin' Les, and Marvey Marie S. yak about Steinberg the Stunning! .............. 22-B
            Herb Trimpe • Linda Fite ] Left: Courtesy of Aaron Sultan, a MMMS pin. ©2002 Marvel Characters, Inc. Opposite: The lady in question in a December
  Barry Windsor-Smith• Les Daniels ; 1964 photo taken in the Marvel Bullpen. Hey! Face front, Flo fan! Keep ye eyes off her slip, y'hear? Courtesy of Fab Flo.
   Trina Robbins • John Romita, Sr.
                                         HAPPY                             BIRTHDAY,                                       FAB                 FLO               STEINBERG!
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    All in the Marvel Family
       Stan the Man, Fab Flo and the Bullpen's goofy fan club record

                                                                                                                Sol Brodsky: I've been meaning to talk to you about that.
                                                                                                                And how come I don't get my name plastered all over the mags like
                                                                                                                you do?
                                                                                                                Stan: Because I can't spell it, that's why.
                                                                                                                Sol: Well, as long as you got a good reason.
                                                                                                                Stan: Hey, what's all that commotion out there, Sol?
                                                                                                                Sol: Why, it's shy Steve Ditko. He heard you're making a record and
                                                                                                                he's got mike frightl Whoops! There he goesl
                                                                                                                Stan: Out the window again? You know, I'm beginning to think he
                                                                                                                is Spider-Man.
                                                                                                                Artie Simek: You mean he isn't?
                                                                                                                Stan: Who said that?
                                                                                                                Artie: Just that lovable old letterer, me.
                                                                                                                Ro: It's adorable Artie Simek. What brought you here?
                                                                                                                Artie: The subway.
                                                                                                                Stan: Oh well, ask a bonehead question, Flo.
                                                                                                                Ro: Stan, Sam Rosen is on the phone.
                                                                                                                Artie: The letterer? My competitor?
                                                                                                                Stan: Just for fun, Artie, you talk to him I
                                                                                                                Artie: Hi, Sam. This is Artie. How's it going, pal?
                                                                                                                Sam Rosen: Just great, Artie. I sure admire your lettering.
                                                                                                                Artie: I admire yours, too, Sam. I think you're tops.
                                                                                                                Sam: Thanks. Well, nice talking to you.
                                                                                                                Artie: The pleasure was all mine. [hangs up phone] I never could
                                                                                                                stand that guy.
                                                                                                                Stan: Well, that's our Artie. Just imagine what Sam is saying about
                                                                                                                him now. Well, let's see who else we can get on this record.
                                                                                                                Sol: How about Chic Stone?
                                                                                                                Stan: Okay. Hi, Chicl How's tricks?
                                                                                                                Chic Slone: Fine, Stan. I'm reading the latest story. It's great.
                                                                                                                What a thriller!
   Above and opposite page: Marie      Stan Lee: Okay, out there in Marvel land I Face front I This is          Stan: Now that's what we like to hear, Chicl Which one of our
   Severin's sleeve art for both the   Stan Lee speaking! You've probably never heard a record like this        comics is it?
      Voices of Marvel and Scream      before, because no one would be nutty enough to make one with a          Chic: Who's reading a comic? This is a novel about James Bond.
  Along with Marvel records which      bunch of off-beat artists, so anything is liable to happen.              can't wait to finish it.
      came with the Merry Marvel       Jack Kirby: Hey, who made you a disc jockey, Lee?                        Stan: We're going to miss Chic around here.
 Marching Society membership kits.     Stan: Well, well! Jolly Jack Kirbyl Say a few words to the fans.         Ro: Oh, look who just came in, Kid Daredevil himself, Wally Wood I
     All courtesy of Tim Townsend.     Jack: Okay. "A few words."                                               Wally Wood: Is that a tape recorder, Flo? You know I'm afraid to
    ©2002 Marvel Characters, Inc.      Stan: Look, pal: I'll take care of the humor around here.                talk into these machines [talks faster and faster] 1-can-never-think-of-
                                       Jack: You? You've been using the same gags over and over for             anyth ing-to-say-1 'm-not-a-big-talker-1-shut-u p-like-a-clam-1-get-
                                       yearsl                                                                   struck-d umb-my-mind-goes-blank-and ..
                                       Stan: Well, you can't accuse me of being fickle, can you? By the         Stan: Okay, okay, forget itl Boy! I'd hate to hear you when you feel
                                       way, Jack, the readers have been complaining about Sue's hairdo          like talking.
                                       again.                                                                   Ro: Stan, Dick Ayers is on the phone.
                                       Jack: What am I supposed to do? Be a hairdresser? Next time I'll         Stan: Let's surprise him. [picks up phone] Hi, Dick. We have a
                                       draw her bald-headed.                                                    recorder playing and you're talking to millions of people right now.
                                       Stan: Boy, I'm glad we caught you when you were in a good                Dick Ayers: You some kind of nut or something? I just want to
                                       moodl                                                                    tell you I want a raise 1
                                       Ro Steinberg: Oh, Stan? Do you have a few minutes?                       Stan: Dick, don't you understand? People are listening! You're
                                       Stan: For our fabulous gal Friday? Sure, say hello to the fans, Flo      talking to the whole world 1
                                       Steinberg.                                                               Dick: I always knew you'd crack some day, Leel Just my luck, it had
                                       Ro: Hello, fansl It's very nice to meet you. As Marvel's correspon-      to happen when I had to ask you for some more dough I Well, I'm
                                       ding secretary, I feel as though I know most of you from your letters.   going back to Sgt. Fury. Good bye1
                                       By the way, Sol Brodsky wants to say a few words.                        Ro: Another phone call for you, Stan.
                                       Stan: Sol Brodsky? Who's he?                                             Stan: Oh, not any morel I'm getting an ear achel
                                       Ro: Stant The fans know you have a bad memory by all the                 Ro: But it's Don Heckl
                                       mistakes you make, but this is ridiculous. He's been your associate      Stan: The idol of the "Iron Man" fans7 The ace of The Avengers?
                                       for yearsl                                                               [phone picked up] Hi, Don I What's doing?
                                       Stan: Really? We ought to start paying him one of these days1            Don Heck: Stan, I was just wondering. Wasn't I supposed to
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 draw "Iron Man" last week?
 Stan: Sure, why do you ask?
 Don: So how come you mailed me a Patsy Walker script?
 Stan: Yipet Did I do that? That's awful!
 Don: Oh well, don't worry, I'll send it back to you.
 Stan: That's not why I'm worried, I must have sent your script
 to Al Hartley1 I can just imagine Iron Man looking like Patsy
 Walker this issue. Okay, talk to you later, Don. [hangs up phone]
 Stan Goldberg: Don't worry about it, Stan. Don't you
 remember that Al Hartley used to draw adventure strips? It may
 not be too bad.
 Stan: Well, well. Look who's here. Stan G., our demon colorer.
 I've been meaning to talk to you, Stan. When are you going to
 remember it's the Hulk who has green skin, not Captain Americal
 Stan G.: Gee whiz I A guy can't remember everything.
 Anyway, I had to tell you what MMMS meant last week. And
 you're the guy who made it upl
 Stan: But when I forget something, it's different.
 Stan G.: Yeah, it's worse.
 Sol: Stan, this is the most confused record I've ever heard I
 Stan: Great, Soll Just what we want. If it were anything else, it
 wouldn't be the nutty Marvel Bullpen I
 Ro: Gosh, we don't have time for George Bell and Vince
 Colletta and Larry Lieber and Bob Powell ..
 Sol: That's great. Now if we ever form another club, we'll have
 something new to offer. .. voices that haven't been heard yet.
 Stan: 'Nutt said, Soll Now let's all get back to work in the
 Bullpen. And as for you, Marvelous Merry Marchers: Welcome
 from all of us to all of you. If you want to know how
 glad we are to have you with us, just you listen. Okay,
 let 'em hear it, gang1
 The Marvel Bullpen: Wah-Hooo!



    You Belong! You Belong! You Belong!
                                                                                                                                                                                                                                            The Merry Marvel Marching Society
 the cause  of comics
        We dunno       history
                  of what      but we value
                            historical sure had
                                             the afollowing
                                                    blast trying   to h..1··.a
                                                              lyrics                                             . .·•·••·•··········• •.· •e
                                                                                       ·f·•··a···n·.•y•·•-··•·•··•1···n
                                                                                                               v                            ·•.·.•• ·• ·.• ·•·• · ·•· .·•· • · • •·•·•·-
                                                                                                                                                                                       ·• · •·• · •.·•.•· •.· · ·•.•·~
                                                                                                                                                                                                                     ·.•·.•·.•· .· . ·•·?
 decipher 'em courtesy of copies made of the                                 ·="'                                                                      -.•~                                                                                 Stand a little straighter, walk a little prouder
 original Merry Marvel Marching Society vinyl                                                         ··1..
                                                               ••""""'".''".··•········•.•;..·••·c•·.···        d.•. ~.·~ ' ¥ '                                                                                                             Be an innovator, laugh a little louder
 records by David Schwartz, an old pal of CBA, who                   · sc.~~"'Oi                                                                                                                                                             Grow forever greater, we can show you how'ta
 also contributed the record transcribed above. Also                    ·.                                        '#ll                                                                                                                        And where will you be then?
 many thanks to the actual lyricist of these classic                                                                                                                                                                                           You'll belong, you'll belong, you'll belong
 ditties, none other than Stan "The Man" Lee himself,                                                                                                                                                                                          You'll belong to
 who graciously clarified and corrected our transcribing                                                                                                                                                                                            the Merry Marvel Marching Societyt
 attempts via e-mail. Thanks also to super-hero song                                                                                                                                                                                            March along, march along, march along
 afficionado Arlen ("Metamorpho! Meta-mor-pho!")                                                                                                                                                                                                 To the song of
 Schumer and Mr. Schwartz for their welcome help.                                                                                                                                                                                                     the Merry Marvel Marching Societyt
                                                         -Ye Editor                                                                                                                                                                                If you growl, if you groan with a dour, sour outlook
                                                                                                                                                                                                                                                    If you howl, if you moan, you will get a sauerkraut look
                                                                                                                                                                                                                                                     Keep it trim and in step, with the vim and the pep
 The Marvel Super-Heroes                                                                                                                                                                                                                           of the Merry Marvel Marching Society
              He's the sulky,
                                                                                                                                                                                                                                                strive to be ambitious
                    over-bulky, kinda-hulky super-hero.
                                                                                                                                                                                                                                               e wiser, try to be iudicious
              A two-fisted
                                                                                                                                                                                                                                                    Be a good adviser, never ever vicious
                    and eledrically-transisted super-hero.
                                                                                                                                                                                                                                                    And where will you be then?
              An exotically
                    neurotic and aquatic super-hero.                                                                                                                                                                                               Face front!
              The Marvel super-heroes have arrived!                                                                                                                                                                                               Lift your headt
                                                                                                                                                                                                                                                  You're on the winning teamt
              Super-powered from the forehead to the toes                                                                                                                                                                                        'Nuff Saidi
              Watch them change
                   their very shape before your nose                                                                                                                                                                                            You belong, you belong, you belong
              See a cane-striking                                                                                                                                                                                                              You belong to the Merry Marvel Marching Society!
                   super-hero change to Viking super-hero                                                                                                                                                                                     March along, march along, march along
              A hum-dinging,                                                                                                                                                                                                                  To the song of the Merry Marvel Marching Societyt
                   real swinging, shield-flinging super-hero                                                                                                                                                                                 If you growl, if you groan, and you're only batting zero
              They're the latest, they're
                                                                                                                                                                                                                                             Do not howl, do not moan, you can be a super-hero
                   the greatest, ultimatest super-heroes
                                                                                                                                                                                                                                            Marching right along, to the fighting song
              The Marvel super-heroes have arrived!
                                                                                                                                                                                                                                            of the Merry Marvel Marching Society!


                                                                                                                                                                                                                                                                                                           7-B


                                                                                                                                                                                                                                                                                 2021 MARVEL-0080294
